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 ____________________________________________________________________________
                                                             SO ORDERED,




                                                             Judge Jason D. Woodard
                                                             United States Bankruptcy Judge


        The Order of the Court is set forth below. The case docket reflects the date entered.
 ____________________________________________________________________________
                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF MISSISSIPPI
 In re:
          CHAD CLAYTON CARRINGTON,                                                      Case No.: 19-13358-JDW

                   DEBTOR.                                                                              Chapter 13

                                 ORDER CONFIRMING CHAPTER 13 PLAN

          The debtor’s plan was filed on August 21, 2019, and amended/modified by subsequent order(s) of the
court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule 3015. The court finds that the
plan meets the requirements of 11 U.S.C. § 1325.

IT IS ORDERED THAT:

1.   The debtor’s chapter 13 plan attached hereto is confirmed.

2.   The following motions are granted (if any):

     a.   Motion for valuation of security, payment of fully secured claims, and modification of undersecured
          claims made under Rule 3012 (§ 3.2 of the plan);
     b.   Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

3.   The stay under Section 362(a) is terminated as to the collateral only and the stay under Section 1301 is
     terminated in all respects regarding collateral listed in Section 3.5 of the plan (if any).

4.   All property shall remain property of the estate and shall vest in the debtor only upon entry of discharge. The
     debtor shall be responsible for the preservation and protection of all property of the estate not transferred to
     the trustee.

5.   The debtor’s attorney is awarded a fee in the amount of $3,600.00, of which $ 3,126.00 is due and payable
     from the estate.

                                               ##END OF ORDER##

 Approved:

 /s/ Jimmy E. McElroy_______________________
 Attorney for the Debtor

 Submitted by:
 Jimmy E. McElroy MSB #2540
 3780 S. Mendenhall Road
 (901) 363-7283
 mcelroylawms@hotmail.com
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 Fill in this information to identify your case:
 Debtor 1               Chad Clayton Carrington
                              Full Name (First, Middle, Last)
 Debtor 2
 (Spouse, if filing)          Full Name (First, Middle, Last)
                                                                     NORTHERN DISTRICT OF
 United States Bankruptcy Court for the                                  MISSISSIPPI                                  Check if this is an amended plan, and
                                                                                                                      list below the sections of the plan that
 Case number:                 19-13358-JDW                                                                            have been changed.
 (If known)                                                                                                            3.2, 3.3, 5.1, 6.1



Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                            12/17


 Part 1:       Notices

To Debtors:                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                           debts must be provided for in this plan.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                           (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                           is filed. See Bankruptcy Rule 3015.

                           The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                           provision will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2           Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $2,872.00 ( monthly, semi-monthly, weekly, or                   bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by
the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                         Self-Employment - pay direct




APPENDIX D                                                                     Chapter 13 Plan                                                 Page 1
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 Debtor                Chad Clayton Carrington                                                   Case number

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3            Income tax returns/refunds.

               Check all that apply
                        Debtor(s) will retain any exempt income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:       Treatment of Secured Claims

3.1            Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

               Check all that apply.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

          Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11 U.S.C. §
      3.1(a)
          1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of
          claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed herein.
 -     Mtg pmts to Planet Home Lending
 Beginning December 2019              @              $1,103.92 Plan X           Direct.        Includes escrow Yes No    $1,143.31 eff 6/2020
 --    Mtg arrears to     Planet Home Lending                          Through          November 2019                                   $19,179.00

 3.1(b)       Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
              U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
              the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
              herein.
 Property -NONE-
           address:
 Mtg pmts to
 Beginning month                            @                              Plan            Direct.          Includes escrow Yes No

 Property -NONE- Mtg arrears to                                                Through

 3.1(c)              Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
                     consistent with the proof of claim filed by the mortgage creditor.

 Creditor:        -NONE-                                   Approx. amt. due:                      Int.
                                                                                                  Rate*:
 Property Address:
 Principal Balance to be paid with interest at the rate above:
 (as stated in Part 2 of the Mortgage Proof of Claim Attachment)
 Portion of claim to be paid without interest: $
 (Equal to Total Debt less Principal Balance)

 Special claim for taxes/insurance: $                        -NONE- /month, beginning                 month .
 (as stated in Part 4 of the Mortgage Proof of Claim Attachment)


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   Debtor                Chad Clayton Carrington                                                       Case number

* Unless otherwise ordered by the court, the interest rate shall be the curent Till rate in this District
  Insert additional claims as needed.

  3.2          Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                            None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                            The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                            Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                            amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                            at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                            or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                            The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                            of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                            treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                            creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


   Name of creditor Estimated amount of                                  Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #



   Synchrony
   Bank                                      $4,900.57            2015 KX Dirt Bike 450F               $3,500.00                  $3,500.00             6.75%

   Name of creditor Estimated amount of                                  Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


                                                                  2015 Husquvarna 61"
                                                                  riding mower w/
                                                                  attachments $4000,
                                                                  blower$200,
   First State                                                    trimmer$100,
   Bank                                    $3,239.92              weedeater$75                        $4,375.00                  $3,239.92              6.75%

   Name of creditor Estimated amount of                                  Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


                                                                  2014 Ford
                                                                  Escape$9500, 2013
   M & F Bank                            $15,488.05               ford explorer$11000                $20,500.00                 $15,488.05              6.75%

   Name of creditor Estimated amount of                                  Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #


                                                                  rake$500, 2009
                                                                  Kawasaki ATV$3000,
                                                                  1986 Honda
   M & F Bank                              $8,464.33              dirtbike$1500                       $5,000.00                  $5,000.00              6.75%

   Name of creditor Estimated amount of                                  Collateral             Value of collateral   Amount of secured claim Interest rate*
                    creditor's total claim #



                                                                  2004 Tractor
   M & F Bank                              $3,020.63              w/ attachments                      $5,500.00                  $3,020.63              6.75%



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 Debtor                Chad Clayton Carrington                                                            Case number

 Name of creditor Estimated amount of                                    Collateral                Value of collateral   Amount of secured claim Interest rate*
                  creditor's total claim #



 TD Auto                                                        2014 Chevy Duramax
 Finance                               $26,081.11               2500 110,000 miles                     $23,400.00                  $23,400.00             6.75% DKT#34

 Name of creditor Estimated amount of                                    Collateral                Value of collateral   Amount of secured claim Interest rate*
                  creditor's total claim #


                                                                DX 29 Tractor 2000,
                                                                stove $100,
 Tower Loan                            $6,743.46                refrigerator $100                       $2,100.00                   $2,100.00             6.75%

Insert additional claims as needed.

#For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

       Name of creditor                                              Collateral                     Amount per month                       Beginning
 -NONE-                                                                                                                         month

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

 For vehicles identified in § 3.2: The current mileage is


 3.3         Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by the court, the
                          claim amount stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any
                          contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.

                 Name of Creditor                                                     Collateral                           Amount of claim          Interest rate*

*Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

Insert additional claims as needed.

3.4          Motion to avoid lien pursuant to 11 U.S.C. § 522.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                     The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                     that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
                     under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
                     treated in Part 5 below.


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 Debtor                Chad Clayton Carrington                                                    Case number



 First Security Bank                                                                 2003 GMC 2500             DKT#18

Insert additional claims as needed.



 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

                  No look fee:          3,600.00

                   Total attorney fee charged:                       $3,600.00

                   Attorney fee previously paid:                     $474.00

                   Attorney fee to be paid in plan per
                   confirmation order:                               $3,126.00

                  Hourly fee: $             . (Subject to approval of Fee Application.)

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.
               The sum of $ $3,500.00
                    % of the total amount of these claims, an estimated payment of $
               The funds remaining after disbursements have been made to all other creditors provided for in this plan.

                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $00.00.
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Other separately classified nonpriority unsecured claims (special claimants). Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.


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 Debtor                Chad Clayton Carrington                                                             Case number

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                          Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified
                          below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column
                          includes only payments disbursed by the trustee rather than by the debtor(s).

  Name of creditor                  Description of leased                Current installment           Amount of arrearage to be   Treatment of arrearage
                                    property or executory                     payment                            paid
                                          contract

                                                                     Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)

Insert additional contracts or leases as needed.

 Part 7:      Vesting of Property of the Estate

 7.1         Property of the estate will vest in the debtor(s) upon entry of discharge.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
                          Upon the filing of a Notice of Postpetition Mortgage Fees, Expenses, and Charges, and absent
                          any objection being filed within 30 days after the filing of said Notice, the Trustee is authorized
                          to pay the amount contained in the Notice as a special claim over the remaining plan term and
                          adjust the plan payment accordingly.
                           The claim filed by Marshall County Chancery Clerk/Tax Assessor, for property taxes, shall be
                          paid directly by the debtor.
 Part 9:      Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Chad Clayton Carrington                                           X
     Chad Clayton Carrington                                                   Signature of Debtor 2
     Signature of Debtor 1

       Executed on            January 14, 2020                                               Executed on

       81 Prather Street
       Address                                                                        Address
       Byhalia MS 38611-0000
       City, State, and Zip Code                                                      City, State, and Zip Code

       Telephone Number                                                               Telephone Number


 X     /s/ Jimmy E. McElroy                                                           Date     January 14, 2020
       Jimmy E. McElroy #2540
       Signature of Attorney for Debtor(s)
       3780 S. Mendenhall
       Memphis, TN 38115
       Address, City, State, and Zip Code
       901-363-7283                                                                   #2540 MS
       Telephone Number                                                               MS Bar Number
       mcelroylawms@hotmail.com
       Email Address



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